                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
         Plaintiff,                            )
                                               )
              v.                               )      Criminal Action No.
                                               )      16-00036-05-CR-W-DGK
KAYLA SMITH,                                   )
                                               )
         Defendant.                            )

                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

         Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen (Doc. 244), to which no objection has been filed, the plea of guilty is now accepted.

Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order of the

Court.

         IT IS SO ORDERED.

Date:     March 12, 2018                            /s/ Greg Kays
                                                   GREG KAYS, CHIEF JUDGE
                                                   UNITED STATES DISTRICT COURT




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